   Case 3:24-cv-02142-AGS-SBC                    Document 9          Filed 12/02/24   PageID.191        Page 1 of
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                                   United States District Court
                                        SOUTHERN DISTRICT OF CALIFORNIA
 Natalia Tereshchenko et al,
                                                                         Case No. 24-cv-2142-BTM-JLB
                                                        Plaintiff,
                                                 V.
                                                                          REPORT OF CLERK AND ORDER
 Alejandro Mayorkas in his official                                        OF TRANSFER PURSUANT TO
 capacity as Secretary of the U.S.                                            "LOW-NUMBER" RULE
 Department of Homeland Security et al,               Defendant.

                        REPORT OF CLERK PURSUANT TO LOW NUMBER RULE
 Re:         "Low-Numbered Case No.:             24-cv-1608-AGS-SBC
             Title:    Sharikov et al v. Mayorkas et al
             Nature of Case:           465 Other Immigration Actions

 The above "low-numbered" case and the present case appear:
  [    (1)      to arise from the same or substantially identical transactions, happenings or events; or
       (2)      involve the same or substantially the same parties or property; or
       (3)      involve the same patent or trademark or different patents or trademarks covering the same or
                substantially identical things; or
       (4)      call for determination of the same or substantially identical questions of law; or
    (5) where a case is refiled within one year of having previously been terminated by the Court; or
    (6) for other reasons would entail unnecessary duplication of labor if heard by different judges.
 New Case #: 24-cv-2142-AGS-SBC

 This case was transferred pursuant to the Low-Number Rule. The related cases have been assigned to
 the same judge and magistrate judge but they are NOT CONSOLIDATED at this point; all pleadings
 must still be filed separately in each case.
                                                                        John Morrill, Clerk of Court,
 Dated:               11/18/24                                            By: s/ D. Martinez
                                                                                               D. Martinez, Deputy

                ORDER OF TRANSFER PURSUANT TO "LOW-NUMBER" RULE
 I hereby consent to transfer of the above-entitled case to my calendar pursuant to Local Rule 40.1,
 Transfer of Civil Cases under "Low-Number" Rule.
 Dated:       
                                                                                   A d
                                                                                   Andrew   G S
                                                                                            G.    h l
                                                                                               Schopler
                                                                                United States District Judge
 It appearing that the above-entitled case is properly transferable in accordance with the provisions of
 the Low-Number Rule, IT IS HEREBY ORDERED that this case         ase is transferred to the calendar of
 Judge Andrew G. Schopler and Magistrate Judge Steve B. Chuu forr all further proceedings.
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  Dated:
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                                                                                  d e Barry Ted Moskowitz
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